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                         Attachment Three
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STEVEN K. HILL                                             542 Boomerang Way
                                                           CALDWELL, IDAHO 83607
                                                           505-508-6278/sandianm777@gmail.com
Retired Systems Engineer
                                                QUALIFICATIONS
 Response force expert/Real world experience
 6 years of experience as Vulnerability Analyst for DOE (SNL-OST and GTRI)
 Completed 6 years of extensive domestic and international travel for DOE/NNSA
 6 years of Sandia National Laboratories management experience.
 8 years of law enforcement management experience.
 Military veteran with 6 years in United States Air Force/military police.
 25 years of local law enforcement experience (retired).
 10 years of experience with DOE Safeguards and Security Programs including operations, training, administration,
  inspections and weapons testing.
 3 years of experience with U.S State Department Anti-Terrorism Assistance Program (ATAP) teaching foreign
  nationals in the areas of security, tactical operations and officer safety.
 Extensive tactical knowledge and experience in law enforcement, DoD and DOE operations and training.
 DOE certified Master Level training instructor with extensive experience in SWAT, Live Fire Shoot house, Precision
  Rifle, Advanced Weapon Systems, Tactical Entry (Breaching) etc.
 Extensive experience developing, documenting and implementing response force doctrine, training, plans, and
  equipment upgrades including DOE SIRPs and SSSPs; protective force training plans, curriculum, and analyses,
  limited scope performance tests, tabletop exercises, and force-on-force exercises.
 Experience with J-CATs, Dante, Simajin and other modeling and simulation software.
 Extensive experience with small arms weaponry and ballistic testing methodologies and process.
 Strong analytical and problem-solving skills including root cause analysis and investigation techniques.
 High functioning team member with skill to lead and supervise teams.
 Self directed performer and learner.
 Skill to communicate with subordinates, teammates and superiors effectively both orally and in writing.
 Skill to analyze and make decisions under extreme duress, compressed time frames, and hi-risk conditions.
 Q-Clearance with HRP. Extensive experience working with classified programs and documents
 Proficient in Microsoft Office Suite and familiar with Visio 2013

                                                         EXPERIENCE
Sandia National Laboratory
Security Training and Risk Analysis Team; Systems Engineer
 Remote Weapons System Engineer
 Collection of data through sampling, exercise and evaluation to
  complete vulnerability analysis for the Office of Secure
  Transportation and Y-12
 Developed test plans and completed ballistic testing projects for
  SNL, DoD and the US State Department customers
 As a member of the DOE Technology Gap team, have
  completed technology evaluations at DOE sites to identify the                                          2009-Present
  detection, delay and response of the future
 Requested to conduct training courses around the world for the
  Global Threat Reduction Initiative. Conducting VA training
  courses by facilitating table top exercises, critical incident
  management, target folders, etc. Created course curriculum
  being used by other teams within the DOE complex
 Requested to conduct response force live fire demonstrations for
  many International Training Courses sponsored by SNL
 Conducted numerous live fire weapons demonstrations and
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  ballistic component testing for various SNL organization
 Confident public speaker
 Authored numerous white papers and classified papers related to
  response and response technologies
 Strong customer service focus


 Protective Force Training & Operations; Lieutenant                                                           2003 - 2009
 As part of the Training Team, supervise Security Police Officers (SPOII/SPOIII) during live-fire operations, field team
   training, and classroom events.
 Subject-matter expert in security, law enforcement, use of force, firearms, and tactical training.
 Extensive tactical experience and training background in both law enforcement, DoD and DOE operations.
 Design, develop and implement performance based training for multiple programs including training hazard analysis;
   instructing multiple topical areas; assisting in the development of the annual training plan; writing and revising course
   materials including lesson plans, student guides, job aids, presentation materials, etc.
 Verify training products/programs are in compliance with DOE Orders, corporate policies and procedures, applicable
   laws, codes, regulations, notices, standards, implementing requirements, and SNL contracts.
 Exceptional analytical skills in quantifying and modeling various weapon systems and tactics in combat simulation
   software, limited scope performance tests, tabletops, and/or force on force exercises
 Coordinate course implementation including safety, facilities, administrative support, and training resources.
 Assist in the development of PF orders, procedures, and policy for both training and operations.
 Develop strong relationships with both internal and external customers for project completion.
 Experience with the development and documentation of response force doctrine, training plans, and equipment
   upgrades for a wide variety of customers.
 Oversee and verify safety operations for all training activities.
 Design training activities to include standardized evaluations and performance measures, Limited Scope Performance
   Testing (LSPT’s) for student and instructor achievement.
 Evaluate students and instructors during course implementation.
 Test and evaluate firearms tactical systems. small arms weaponry and ballistic testing
 Participated in the development of a long distance taser with the Sandia Advanced Concepts Group. Currently under
   application for a patent.
 Assist in developing and implementing corrective action plans for identified deficiencies.
 Assist other Department of Energy sites and organizations with training, testing, evaluations and operations, including
   the NTC, Tonopah Test Range, Office of Safeguards and Transportation, Los Alamos National Laboratories and SNL
   International Programs.
 Assist Department 4232, S&S Training, Awareness and Documentation in developing media-based training programs
   including the PF Overview, PF Lock and Key DVD, Security Incident Report Writing, Friend or Foe, and Ballistic
   Wall training.
 Maintained a Class B Commercial Drivers License.
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Department of Energy National Training Center (NTC)                                                                    2000 - 2003
Wackenhut Service, Inc.; Adjunct Instructor
 Supervised and trained foreign dignitaries and students through the United States State Department Anti-terrorism
   Assistance Program. Worked with individuals from diverse backgrounds and cultures including Jordan, Kazakhstan,
   Djibouti, Yemen, Georgia, Ecuador, and the Philippines. Training activities including, but not limited to, ethics,
   defensive tactics, hostage rescue, tactical response, less lethal, officer survival, firearms (pistol, rifle, sniper rifle,)
   ambush and counter ambush techniques, improvised explosive device identification and response, setting up road
   blocks, traffic stops, and site security operations.
 Extensive background working with translators.
 Supervised and trained DOE and other federal, state, and local law enforcement students in basic and advanced security
  courses.
Albuquerque Police Department (Retired)                                                                          1985 - 2003
Field Services; Sergeant/Supervisor (1995-2003)
 Full time supervisor of the Special Weapons and Tactics team during both hi-risk events (participated in over 500
   SWAT activations), riot control, civil disturbances and daily field services operations.
 Extensive team tactical experience and training in both law enforcement, DoD and DOE operations
 Conducted day-to-day management and administration of field operations including payroll, counseling and
   disciplinary personnel actions, purchasing, strategic planning, training assessments, conducted both internal and
   external conflict resolution, and personnel supervision.
 Project supervisor of the APD tactical range facility rebuild including a live-fire shoot-house and long-distance ranges.
 Court certified expert witness in narcotics related cases.
 Represented APD as a liaison through Community Based Policing initiatives and special events including Balloon
   Fiesta, State Fair, Presidential and dignitary protection activities.
 Responsible for the planning, assignment and supervision of assigned personnel conducting routine patrol, calls for
   service, officer initiated calls, traffic enforcement and investigation, public relations and community service.
 Analyzed laws, methods, and technological advancements in crime detection and law enforcement to include weapons,
   explosives, personal protection equipment, ammunition, vehicles, etc.
 APD Reserve Police Officer (2003-2009)

Field Services; Patrolman and Detective (1986-1995)
 Special Investigations/Repeat Offender Project (ROP) conducting long and short-term investigations of repeat criminal
   offenders, violent, property and white-collar crimes.
 Technical equipment specialist trained in installing electronic monitoring equipment (audio/video) and electronic
   tracking systems.
 District and Federal court certified expert witness.
 Participated in over 1000 felony arrests and over 300 search and arrest warrants.
 Performed general field services duties including routine patrol, calls for service, officer initiated calls, traffic
   enforcement and investigation, public relations and community service.
United States Air Force                                                                                             1979 - 1985
Security Police; Law Enforcement Specialist/Staff Sergeant/E-5
 Responsibilities included, routine patrol, calls for service, traffic accident investigation and first-line supervision of
   personnel.
 Maintained a Secret security clearance and was authorized through the Personnel Reliability Program to provide
   security for nuclear weapons and components.
 Honorably discharged with numerous medals and commendations.
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                                     JOB SPECIFIC EDUCATION & TRAINING
Department of Energy                                       Lockheed Martin/SNL
 DOE certified Master Level Training Instructor            TVI Community College Supervisor Academy (96
 Firearms and Advanced Weapons Instructor                   Hours)
 SPO II and SPO III instructor                             Orientation to Management (OM141)
 Live Fire Shoot House Instructor                          Extraordinary Leader (MGT360)
 Precision Rifle Instructor                                Effective Manager (OM181)
 Intermediate Force Instructor                             Management Essentials (OM206)
 Radiation Worker I                                       Current on all corporate training requirements
 DOE Armorer
 (Numerous other instructor and student courses)
Completed DOE/NTC Professional Education Program
Albuquerque Police Department                              International Association of Chiefs of Police
 Critical Incident Management                              Swat Supervisors Tactics and Management
 Internal Affairs Investigation/Problem Oriented Policing  Advanced Tactical Management for Commanders and
 Police-Press Relations                                     Supervisors
Federal Emergency Management Agency                        Texas A&M Law Enforcement Training Division
 DHS/FEMA training instructor                              Threat Assessment
 Introduction to the Incident Command System (ICS)
 Basic ICS for Federal Disaster Workers
   National Incident Management System Introduction

University of Phoenix – (6 Credit hrs)                      Troy State University – (3 Credit hrs)
Community College of the Air Force – (16 Credit hrs)        South Plains Association of Government – (3 Credit hrs)
                           Extensive law enforcement, emergency response and instructional
                             systems design training courses. List available upon request.
                                   OTHER JOB SPECIFIC KNOWLEDGE & SKILLS
 Knowledge of DOE orders, federal and state law, SNL management policy and procedure including human resource
  law, collective bargaining, affirmative action, equal opportunity employment, sexual harassment, labor laws and
  practices.
 Knowledge of discipline and counseling techniques and performance appraisal techniques.
 Knowledge of quality assurance processes and techniques.
 Knowledge of records management techniques.
 Knowledge of customer service theory and practices.
 Skill to negotiate, clarify and document staff expectations and measureable standards.
 Skill to manage, motivate, counsel, and provide feedback to a diverse workforce through SNL sanctioned techniques
  and methods.
 Skill to lead during security and emergency management events.
 Skill to operate MS Office Suite.
                                                    PERSONAL
 Eagle Scout                                           Member of Rock Harbor Christian Church
 Married to wife Cathy for 40 years
 In very good physical health
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                            CAUSE NO.: 1:22-CR-15
                             §
ELMER STEWART RHODES, III    §


                             NOTICE OF DEFENSE EXPERT

COMES NOW BRADFORD L. GEYER, Counsel for Kenneth Harrelson, and inform

the United States Attorney’s Office, more specifically Jeffrey Nestler and Kathryn

Rakoczy, and the Court that the defense can now explain in greater detail its intention to

designate Steve Hill as the defense team’s expert on Response Force (to Security

Incidents) Expert, who has spent the bulk of his career assessing and modeling threat

scenarios for high value facility targets and evaluating responses, See CV previously

provided. 1 While developing final opinions, we plan to have the expert initially available

as an inside technical expert to assist us in reviewing Government’s discovery

productions and requesting supplemental productions and to conduct inspections of key

security features like the Columbus door and monitoring systems and Mr. Hill will be

joining us on Saturday during the tour of the Capitol and has been reviewing discovery

that includes surveillance video and other discovery including radio transcripts and

recordings. We intend to call Hill as a testifying expert after he receives and reviews

necessary discovery and finalizes an opinion.




1 Mr. Hill’s final CV may include updated information regarding clearances and relevant experience

that may or may not require a closed hearing.
NOTICE OF EXPERTS-RHODES                                                                             1
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    Here is a general breakdown of what Hill may testify to, as a Response Force (to

Security Incidents) Expert. The scope will narrow so as to ensure we make efficient use

of court time:


    Assessment of Police Tactics, Techniques, and Procedures


    Assessment of USCP (officers and civilian decision makers) command, control,

training and decision making based on open source and discovery information, and how

this information affected security measures carried out on January 6.


    Discussion of typical planning steps violent extremist militia planners would use to

create and carry out a multi-person attack (this is called "red teaming" and is used for Table-

top exercises and force-on-force exercises). He would compare these steps, which are

military/police standards, to what we know about what the Oath Keepers did in advance to

and during January 6.


    How the results of the assessments in #1 and #2 provide insight into whether the Oath

Keepers actually impeded an official proceeding considering that restarting the Vote

Certification had to wait until the police, to include Capitol Police and also other law

enforcement agencies, completed certain actions inside the Capitol that had to be

performed first.


    Compare and contrast actions and reactions of Oath Keepers, rally attendees,

provocateurs and responders based on a host of security issues that will be identified,

explained and framed in a context that will assist the prosecution and defense to understand

what is otherwise is a confusing series of actions and reactions.



NOTICE OF EXPERTS-RHODES                                                                     2
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    It is possible the above will change as Mr. Hill conducts his review of information that

has been protected by court order and as we receive additional outstanding discovery.




Dated: August 25, 2022                        RESPECTFULLY SUBMITTED


                                              /s/ Brad Geyer
                                              Bradford L. Geyer, PHV
                                              PA 62998
                                              NJ 022751991
                                              Suite 141 Route 130 S.
                                              303
                                              Cinnaminson, NJ 08077
                                              Brad@FormerFedsGroup.Com
                                              (856) 607-5708




                               CERTIFICATE OF SERVICE

       I hereby certify that on August 25, 2022, a true and accurate copy of the
forgoing was electronically filed and served through the ECF system of the U.S.
District Court for the District of Columbia.



                                                     /s/ Brad Geyer
                                                     Bradford L. Geyer, PHV
                                                     PA 62998
                                                     NJ 022751991
                                                     Suite 141 Route 130 S., 303
                                                     Cinnaminson, NJ 08077
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NOTICE OF EXPERTS-RHODES                                                                  3
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NOTICE OF EXPERTS-RHODES                                                   4
